
		
				IN THE MATTER OF THE REINSTATEMENT OF WELCH2023 OK 88Case Number: SCBD-7428Decided: 09/18/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 88, __ P.3d __

				

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In the matter of the REINSTATEMENT OF JOSHUA TODD WELCH to Membership in the Oklahoma Bar Association and to the Roll of Attorneys:

JOSHUA TODD WELCH, Petitioner,
v.
STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Respondent.



ORDER 



¶1 The petitioner, Joshua Todd Welch, was stricken from the roll of attorneys of the Oklahoma Bar Association on October 15, 2012, following his submission of resignation pending disciplinary proceedings; 2012 OK 83292 P.3d 510see November 8, 2012, order granting rehearing, SCBD 5868). On March 15, 2023, Welch petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. The Professional Responsibility Tribunal held a hearing on June 8, 2023 and the panel unanimously recommended that Welch be reinstated. Upon consideration of the matter, we find:

1) The attorney has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rules 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2021, ch.1, app. 1-A.

2) The attorney has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The attorney has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The attorney has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association.

¶2 IT IS THEREFORE ORDERED that the petition of Joshua Todd Welch for reinstatement to the Oklahoma Bar Association is hereby granted. Welch shall pay the costs associated with these proceedings in the amount of $174.83 within sixty (60) days of this order.

¶3 IT IS FURTHER ORDERED that Welch shall pay his 2023 Bar Association dues within thirty (30) days of the date of this order. Reinstatement is conditional upon the attorney's payment of these dues.

¶4 DONE BY ORDER OF THE SUPREME COURT THE 18th DAY OF SEPTEMBER, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR



